      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 1 of 18 PageID #:1



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DISTRICT
BARBARA “BASIA” LUKASZCZYK, WENDY A.
ROGOWSKI, TOMAS MACKEVICIUS, CHERRYL
GUTHRIE-WILSON, VANESSA BARRERA,
ANTONETA PALIK, CRISTINA VALLE,
LYNETTE TAYLOR, LATEHESHA FITCH, MARY
ELIZABETH “BETSY” KOSENKA, individually and
on behalf of similarly situated employees and contractors
of COOK COUNTY,
               Plaintiffs,
v.                                                             2021 CV 5407
COOK COUNTY, HEKTOEN INSTITUTE FOR
MEDICAL RESEARCH, LLC, and GOVERNOR JAY
ROBERT PRITZKER,
               Defendants.
                                           COMPLAINT
       Now Come BARBARA “BASIA” LUKASZCZYK, WENDY ROGOWSKI, TOMAS
MACKEVICIUS, CHERRYL GUTHRIE-WILSON, VANESSA BARRERA, ANTONETA
PALIK, CRISTINA VALLE, LYNETTE TAYLOR, LATEHESHA FITCH, MARY
ELIZABETH “BETSY” KOSENKA, individually and on behalf of similarly situated employees
and contractors of COOK COUNTY, by and through their attorney, JONATHAN LUBIN, and
Complain of COOK COUNTY, HEKTOEN INSTITUTE FOR MEDICAL RESEARCH, LLC,
and GOVERNOR JAY ROBERT PRITZKER, stating:
1.     In March, 2020, American life was irreparably changed both by COVID-19 and by the

various governments’ response to it. During that time, paramedics – who were already heroes –

began to become ever more vital to the health and safety of millions of Americans. During that time,

health care workers were on the front lines of society, granted “essential worker” status due to the

recognition of their importance in keeping society afloat during these trying times. As a result, many

of these essential workers were put in contact, early on, with COVID-19 positive patients, and many

contracted COVID-19 as a result.


                                                  1
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 2 of 18 PageID #:2



2.     Now, the Governor of the State of Illinois, the Cook County, and Hektoen Institute, LLC

are threatening to terminate employees in any arguable aspect of providing public health unless they

agree to take a vaccine for the SARS-COV-2 virus that causes COVID-19 (hereinafter, simply

“COVID-19”), despite the fact that many of these essential healthcare workers have already

contracted COVID-19, and are therefore largely immune to contracting it again.

3.     The implication that these essential workers and heroes are somehow public health hazards

is wrong, and does a disservice to them and to the health of the people in this State.

                                               Parties

4.     Barbara “Basia” Lukaszczyk is an employee of Hektoen Institute for Medical Research, LLC

as a Clinical Research Associate. She has direct contact with patients and does not believe she has

contracted COVID-19.

5.     Wendy A. Rogowski, PA-C is an employee of Hektoen Institute for Medical Research, LLC

as a Physician Assistant/Project Coordinator. She has direct contact with patients and does not

believe she has contracted COVID-19.

6.     Tomas Mackevicius is an employee of Hektoen Institute for Medical Research, LLC as its

Chief Information Officer. He does not have contact with patients and does not believe he has

contracted COVID-19.

7.     Cherryl Guthrie-Wilson is an employee of the John H. Stroger, Jr. Cook County Hospital.

She is a registered nurse and works in the infusion center. She therefore has direct contact with

patients. She does not believe that she has had COVID-19.

8.     Vanessa Barrera is an employee of the Hektoen Institute for Medical Research, LLC as a

clinical research associate/medical assistant. She has direct contact with patients and has not had

COVID-19.




                                                   2
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 3 of 18 PageID #:3



9.      Antoneta Palik is an employee of John H. Stroger, Jr. Cook County Hospital. She is a ward

clerk with the critical care unit and has indirect contact with patients. She has had COVID-19.

10.     Cristina Valle, MA, LPC is an employee of Cook County. She works in the Cook County

Health System providing mental health services to the Cook County Jail as a Mental Health

Specialist III. She suspects that she contracted COVID-19 early in 2020.

11.     Lynette Taylor, MA, LPC is an employee of Cook County. She works in the Cook County

Health System providing mental health services to the Cook County Jail as a Mental Health

Specialist III. She suspects that she contracted COVID-19 in early 2020.

12.     Latehesha Fitch, LCPC, is an employee of Cook County. She works in the Cook County

Health System providing mental health services to the Cook County Jail as a Mental Health

Specialist III. She has already had COVID-19.

13.     Mary Elizabeth “Betsy” Kosenka, LCSW, is an employee of Cook County. She works in the

Cook County Health System providing mental health services to the Cook County Jail as a Mental

Health Specialist III. She has already had COVID-19.

14.     Cook County is a municipal corporation located in the Northern District of Illinois, Eastern

Division.

15.     Hektoen Institute for Medical Research, LLC, is corporation located and doing business on

Cook County. Hektoen provides invaluable services to the John H. Stroger Cook County Hospital,

and to its patients.

16.     Governor Jay Robert Pritzker is the governor of the State of Illinois. He wrote the Executive

Order (Executive Order 2021-22) that is at the center of the controversy surrounding the threatened

termination of Plaintiffs and other Cook County employees and contractors.

                                      Jurisdiction and Venue




                                                  3
       Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 4 of 18 PageID #:4



17.     This Court has jurisdiction over the parties pursuant to 28 U.S.C. § 1331 because the

Complaint seeks equitable relief and damages under federal statutes and the US Constitution.

18.     This Court has supplemental jurisdiction over state-law claims pursuant to 28 U.S.C. § 1367

because the state-law claims are integrally related to the federal claim0s.

19.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because the relevant events took

place in the Northern District of Illinois.

                                      Facts Common to All Counts

20.     COVID-19 is a virus that was first detected in Wuhan, China, and eventually made its way to

the United States of America, setting off a chain of events that has irretrievably changed the day-to-

day life of many if not most Americans.

21.     When the virus first appeared in the United States, some believed that the number of deaths

in America would reach 2.2 million1. This was based upon an assumption that the Infection Fatality

Ratio was as high as 9% in some populations.

22.     Despite these terrifying predictions, essential workers continued to interact with the public,

frequently exposing themselves to people who were positive for COVID-19 in the process.

23.     Cook County Jail employees in particular were hard hit by COVID-19. Early in the

pandemic, the Cook County Jail was considered one of the largest clusters of COVID-19 in the

United States2 3 4.




1 Report 9: Impact of non-pharmaceutical interventions (NPIs) to reduce COVID-19 mortality and healthcare demand,
accessed at https://www.imperial.ac.uk/media/imperial-college/medicine/sph/ide/gida-fellowships/Imperial-College-
COVID19-NPI-modelling-16-03-2020.pdf.
2
  https://blockclubchicago.org/2020/04/14/181-cook-county-jail-staffers-have-coronavirus-remaining-guards-are-
overworked-forced-to-cut-corners-union-says/
3
  https://www.propublica.org/article/cook-county-jail-covid-oral-histories
4
  https://blockclubchicago.org/2020/09/02/cook-county-jail-officers-demand-hazard-pay-for-working-for-months-
in-coronavirus-hot-spot/

                                                        4
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 5 of 18 PageID #:5



24.     It goes without saying that any individual providing health services within a hospital, like

John H. Stroger, Jr. Hospital of Cook County, was at risk of contracting COVID-19 at many

different times during the pandemic; this was not lost on many Stroger employees, who complained

of suboptimal conditions in the prevention of COVID-19 early on in the pandemic5 6.

25.     Until now, no defendant required employee providing health services to engage in periodic

COVID-19 testing.

26.     This was true despite the fact that case rates in Illinois were highest in the fall and winter of

2020, were higher in May of 2020 and April of 2021 then they are today, and are presently on a

downward trend7.




5
  https://khn.org/news/hospital-workers-complain-of-minimal-disclosure-after-covid-exposures/
6
  https://www.fox32chicago.com/news/1500-cook-county-employees-walk-off-the-job-for-one-day-strike
7 http://dph.illinois.gov/covid19/covid19-statistics


                                                    5
         Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 6 of 18 PageID #:6



27.        Relatively speaking, it is safer to be an Illinois resident today than at several different points,

spanning weeks and months, over the last 18 months. Still, no vaccinations were required, despite

widespread availability beginning in 2021.

28.        The National Institute of Health and other bodies have found that natural immunity to

COVID-19 – that is, immunity caused by infection with COVID-19 and recovery – is incredibly

strong. Specifically, antibodies against the spoke protein of the COVID-19 virus remain in 98% of

people who have recovered from the virus 6 to 8 months after infection (and the outer limit of the

study was simply because the study was done on individuals who were 6 to 8 months out of

recovery, not because immunity begins to wear off8).

29.        Health and Human Services’ Assistant Secretary, Dr. Admiral Bret Diroir stated in August,

2021, in a nationally televised interview that “there are still no data to suggest vaccine immunity is

better than natural immunity. I think both are highly protective.”

30.        Even Dr. Anthony Fauci, one of the vaccines’ chief proponents, admitted in September,

2021, while being interviewed on CNN that “I don’t have a firm answer,” on whether the vaccines

offer immunity that was comparable to natural immunity.

31.        The data out of the State of Israel underscores this point. In a paper that is awaiting peer

review, scientists out of the State of Israel report that in studying thousands of patients, those whose

only source of immunity was a vaccine (in the case of Israel, the Pfizer vaccine was used) had a 5.96

to 13.06-fold increased risk of a breakthrough infection with the Delta variant of COVID-19 over

those whose immunity was natural9.




8   https://www.nih.gov/news-events/nih-research-matters/lasting-immunity-found-after-recovery-covid-19
9   https://www.medrxiv.org/content/10.1101/2021.08.24.21262415v1.full.pdf

                                                          6
       Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 7 of 18 PageID #:7



32.     Israel is one of the most vaccinated places in the world, with close to 80% of the country

having been vaccinated. Israel’s bout with the Delta variant of COVID-19 has demonstrated that

the vaccine is only 64% effective at preventing symptomatic cases of COVID-1910.

33.     Despite its high vaccination rates, Israel is becoming “the world’s COVID hotspot.”11

34.     Here in this country, the now well-known study of the effects of natural immunity in the

Cleveland Clinic Health System provides yet another example of the real-world superiority of natural

immunity to vaccine immunity. That study compared “breakthrough infections” (that is, re-infection

after either contracting COVID-19 or taking a vaccine) among employees of the Cleveland Clinic

Health System and found that of those who were previously infected and unvaccinated, 1359

people, none suffered breakthrough infections12.

35.     Several scholarly journals have also weighed in on the superiority of natural immunity to

vaccine immunity13 14. Further, those who previously were infected with COVID-19 were at greater

risk for bad side effects associated with the vaccine, and that the vaccine might even weaken their

pre-existing immunity15.

36.     While the vaccines have been effective at preventing serious cases and deaths, they lag far

behind natural immunity in preventing symptomatic cases of COVID-19, and, therefore,

transmission of COVID-19.

37.     On September 3, 2021, Governor Pritzker issued Executive Order 2021-22. That order

requires any Health Care Worker to have the first dose of a COVID-19 vaccine by September 19,




10 https://www.washingtonpost.com/politics/2021/07/19/vaccine-skeptics-zero-israel-again-some-reason/
11 https://www.dailymail.co.uk/news/article-9951117/Israel-worlds-Covid-hotspot-0-2-population-catching-
yesterday.html
12
   https://www.medrxiv.org/content/10.1101/2021.06.01.21258176v3
13
   https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3838993
14
   https://www.nature.com/articles/s41586-021-03647-4
15
   https://www.biorxiv.org/content/10.1101/2021.03.22.436441v1

                                                        7
         Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 8 of 18 PageID #:8



2021, and to have taken a second dose within 30 days after the first dose. EO 2021-22(2)(b),

attached as Exhibit A.

38.       Health Care Workers include any person who is employed by a Health Care Facility (other

than state-owned facilities) and have frequent contact with patients and personnel within the facility.

People who are incidentally employed by a Health Care Facility but do not have frequent contact

with those inside such a facility (for example, the Chief Information Officer of a Contractor with

Stroger Hospital), are not included.

39.       The executive order is a continuation of the state of emergency declared by the Governor in

March, 2020, pursuant to the Illinois Emergency Management Agency Act. 20 ILCS 3305 et seq.

40.       That statute states that “[u]pon such proclamation, the Governor shall have and may

exercise for a period not to exceed 30 days” certain enumerated powers. 20 ILCS 3305/7.

41.       Several decisions of the Northern District of Illinois have pertained to the limitation placed

on the governor by the simple text of the statute: he may exercise his power “for a period not to

exceed 30 days.” These decisions have largely found that so long as the governor makes new

findings of fact, he may extend these emergency orders (or, more accurately, issue new orders). See,

for instance, Cassell v. Snyders, 458 F.Supp.3d 981 (Ill. N.D., 2020).

42.       In the case of Cassell specifically, the Court pointed out that while the governor could

extend the emergency orders, his power is not unlimited. As Cassell finds, “[o]nce an emergency has

abated, the facts on the ground will no longer justify such findings, and the Governor's emergency

powers will cease. And, should this or any future Governor abuse his or her authority by issuing

emergency declarations after a disaster subsides, affected parties will be able to challenge the

sufficiency of those declarations in court.” Cassell v. Snyders, 458 F. Supp. 3d 981, 1002 (N.D. Ill.

2020).




                                                     8
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 9 of 18 PageID #:9



43.     Though COVID-19 is still very much a part of the lives of nearly every Illinoisan, the cases

are presently on the wane, and there are many fewer new cases today (to say nothing of deaths) than

there were at several other points over the last 18 months.

44.     The Illinois Emergency Management Act enumerates the temporary unilateral powers of the

governor. Specifically, it lists the following powers:

                    (1) To suspend the provisions of any regulatory statute prescribing procedures
                for conduct of State business, or the orders, rules and regulations of any State
                agency, if strict compliance with the provisions of any statute, order, rule, or
                regulation would in any way prevent, hinder or delay necessary action, including
                emergency purchases, by the Illinois Emergency Management Agency, in coping
                with the disaster.
                      (2) To utilize all available resources of the State government as reasonably
                necessary to cope with the disaster and of each political subdivision of the State.
                      (3) To transfer the direction, personnel or functions of State departments and
                agencies or units thereof for the purpose of performing or facilitating disaster
                response and recovery programs.
                      (4) On behalf of this State to take possession of, and to acquire full title or a
                lesser specified interest in, any personal property as may be necessary to accomplish
                the objectives set forth in Section 2 of this Act, including: airplanes, automobiles,
                trucks, trailers, buses, and other vehicles; coal, oils, gasoline, and other fuels and
                means of propulsion; explosives, materials, equipment, and supplies; animals and
                livestock; feed and seed; food and provisions for humans and animals; clothing and
                bedding; and medicines and medical and surgical supplies; and to take possession of
                and for a limited period occupy and use any real estate necessary to accomplish those
                objectives; but only upon the undertaking by the State to pay just compensation
                therefor as in this Act provided, and then only under the following provisions:
                             a. The Governor, or the person or persons as the Governor may
                    authorize so to do, may forthwith take possession of property for and on behalf
                    of the State; provided, however, that the Governor or persons shall
                    simultaneously with the taking, deliver to the owner or his or her agent, if the
                    identity of the owner or agency is known or readily ascertainable, a signed
                    statement in writing, that shall include the name and address of the owner, the
                    date and place of the taking, description of the property sufficient to identify it, a
                    statement of interest in the property that is being so taken, and, if possible, a
                    statement in writing, signed by the owner, setting forth the sum that he or she is
                    willing to accept as just compensation for the property or use. Whether or not
                    the owner or agent is known or readily ascertainable, a true copy of the statement
                    shall promptly be filed by the Governor or the person with the Director, who

                                                    9
Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 10 of 18 PageID #:10



            shall keep the docket of the statements. In cases where the sum that the owner is
            willing to accept as just compensation is less than $1,000, copies of the
            statements shall also be filed by the Director with, and shall be passed upon by
            an Emergency Management Claims Commission, consisting of 3 disinterested
            citizens who shall be appointed by the Governor, by and with the advice and
            consent of the Senate, within 20 days after the Governor's declaration of a
            disaster, and if the sum fixed by them as just compensation be less than $1,000
            and is accepted in writing by the owner, then the State Treasurer out of funds
            appropriated for these purposes, shall, upon certification thereof by the
            Emergency Management Claims Commission, cause the sum so certified
            forthwith to be paid to the owner. The Emergency Management Claims
            Commission is hereby given the power to issue appropriate subpoenas and to
            administer oaths to witnesses and shall keep appropriate minutes and other
            records of its actions upon and the disposition made of all claims.
                     b. When the compensation to be paid for the taking or use of property or
            interest therein is not or cannot be determined and paid under item a of this
            paragraph (4), a petition in the name of The People of the State of Illinois shall
            be promptly filed by the Director, which filing may be enforced by mandamus, in
            the circuit court of the county where the property or any part thereof was located
            when initially taken or used under the provisions of this Act praying that the
            amount of compensation to be paid to the person or persons interested therein
            be fixed and determined. The petition shall include a description of the property
            that has been taken, shall state the physical condition of the property when
            taken, shall name as defendants all interested parties, shall set forth the sum of
            money estimated to be just compensation for the property or interest therein
            taken or used, and shall be signed by the Director. The litigation shall be handled
            by the Attorney General for and on behalf of the State.
                     c. Just compensation for the taking or use of property or interest therein
            shall be promptly ascertained in proceedings and established by judgment against
            the State, that shall include, as part of the just compensation so awarded, interest
            at the rate of 6% per annum on the fair market value of the property or interest
            therein from the date of the taking or use to the date of the judgment; and the
            court may order the payment of delinquent taxes and special assessments out of
            the amount so awarded as just compensation and may make any other orders
            with respect to encumbrances, rents, insurance, and other charges, if any, as shall
            be just and equitable.
              (5) When required by the exigencies of the disaster, to sell, lend, rent, give, or
        distribute all or any part of property so or otherwise acquired to the inhabitants of
        this State, or to political subdivisions of this State, or, under the interstate mutual aid
        agreements or compacts as are entered into under the provisions of subparagraph (5)



                                            10
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 11 of 18 PageID #:11



               of paragraph (c) of Section 6 to other states, and to account for and transmit to the
               State Treasurer all funds, if any, received therefor.
                     (6) To recommend the evacuation of all or part of the population from any
               stricken or threatened area within the State if the Governor deems this action
               necessary.
                     (7) To prescribe routes, modes of transportation, and destinations in
               connection with evacuation.
                     (8) To control ingress and egress to and from a disaster area, the movement of
               persons within the area, and the occupancy of premises therein.
                     (9) To suspend or limit the sale, dispensing, or transportation of alcoholic
               beverages, firearms, explosives, and combustibles.
                     (10) To make provision for the availability and use of temporary emergency
               housing.
                     (11) A proclamation of a disaster shall activate the State Emergency Operations
               Plan, and political subdivision emergency operations plans applicable to the political
               subdivision or area in question and be authority for the deployment and use of any
               forces that the plan or plans apply and for use or distribution of any supplies,
               equipment, and materials and facilities assembled, stockpiled or arranged to be made
               available under this Act or any other provision of law relating to disasters.
                     (12) Control, restrict, and regulate by rationing, freezing, use of quotas,
               prohibitions on shipments, price fixing, allocation or other means, the use, sale or
               distribution of food, feed, fuel, clothing and other commodities, materials, goods, or
               services; and perform and exercise any other functions, powers, and duties as may be
               necessary to promote and secure the safety and protection of the civilian population.
                     (13) During the continuance of any disaster the Governor is commander-in-
               chief of the organized and unorganized militia and of all other forces available for
               emergency duty. To the greatest extent practicable, the Governor shall delegate or
               assign command authority to do so by orders issued at the time of the disaster.
                     (14) Prohibit increases in the prices of goods and services during a disaster. 20
               ILCS 3305/7.

45.     The entirety of the text is brought here to underscore what the statute does not state. The

sections pertaining to the governor’s power to direct traffic, ingress and egress, and commerce

arguably give the governor the power to impose lockdowns. But there is no statutory authority in 20

ILCS 3305/7 that permits the governor to require vaccination of employees, or to direct the terms

of their employment.




                                                  11
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 12 of 18 PageID #:12



46.     Further, the act specifically limits the governor’s power in stating that the Act shall not be

construed to “[a]ffect the jurisdiction or responsibilities of police forces, fire fighting forces, units of

the armed forces of the United States, or of any personnel thereof, when on active duty; but State

and political subdivision emergency operations plans shall place reliance upon the forces available

for performance of functions related to emergency management.” 20 ILCS 3305/3(c).

47.     Cook County’s President, ostensibly in response to Executive Order 2021-22, issued its own

vaccination mandate (hereinafter “mandate”). This mandate requires all employees to vaccinate,

including contractors with the County. Like the Governor’s mandate, the Cook County mandate was

an executive act of the president, and was not voted on by Cook County Commission.

48.     The Cook County mandate requires any employees who have not vaccinated to be

suspended without pay, regardless of whether they are willing to submit to weekly testing. While

technically, the Order allows employees to seek a reasonable accommodation, as a practical matter,

all of Plaintiffs have been denied for a religious accommodation.

49.     For several weeks, the mandate allowed non-vaccinated employees to submit to weekly

testing, but now that is not permitted. Rather, non-vaccinated employees will be suspended and then

terminated.

50.     Each of the Plaintiffs here sought religious exemptions, but all were denied, or their

exemptions have not been responded to as the October 15 deadline nears. In some cases, the denial

was on the basis that the plaintiff has not sought an exemption for the influenza vaccine in the past.

51.     Some of the Plaintiffs found that, not content to simply suspend them (and ultimately

terminate them) without pay, the County had distributed a color-coded statement of which

employees were vaccinated and which were not, subjecting those Plaintiffs to harassment and

derision.




                                                     12
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 13 of 18 PageID #:13



52.      Similarly, Cook County notified Hektoen’s vaccinated employees as to which employees

were unvaccinated – something that Plaintiffs learned from their fellow employees, not from their

employer. This subjected them to harassment and derision.

53.      The Supreme Court has recognized many times that the right to privacy (including bodily

autonomy) is one of the fundamental rights protected by the constitution. For example, Roe v.

Wade, 410 U.S. 113 (1973) points to several prior decisions of the Supreme Court identifying

various amendments in the Bill of Rights as the source of this right16.

54.      In Roe specifically, the Supreme Court noted that the right of women to procure an abortion

existed despite the State of Texas’s belief (consistent with the beliefs of many of the world’s

religions, and the beliefs of many people of conscience) that the life of a fetus begins at conception.

Id. at 159. That is to say, bodily autonomy trumps even the possibility that the assertion of the same

would be directly responsible for the termination of a human life.

55.      Whenever a fundamental right is implicated, the Supreme Court tells us, Courts must apply

strict scrutiny in evaluating the constitutionality of the laws at issue. Specifically, Supreme Court

states that the state may only threaten that interest when it is justified by a “compelling state

interest,” and that the “legislative enactments must be narrowly drawn to express only the legitimate

state interests at stake. Roe v. Wade, 410 U.S. 113, 155 (1973); Planned Parenthood of Se.

Pennsylvania v. Casey, 505 U.S. 833, 871 (1992).

56.      As the Supreme Court has found elsewhere, “[t]he guaranties of due process, though having

their roots in Magna Carta's ‘per legem terrae’ and considered as procedural safeguards ‘against




16Specifically, it points to the First Amendment, Stanley v. Georgia, 394 U.S. 557, 564 (1969); the Fourth and Fifth
Amendments, Terry v. Ohio, 392 U.S. 1, 8-9 (1968), Katz v. United States, 389 U.S. 347, 350 (1967); Boyd v. United
States, 116 U.S. 616 (1886), Olmstead v. United States, 277 U.S. 438 (1928)(Brandeis, dissenting); the “penumbras of the
Bill of Rights, Griswold v. Connecticut, 381 U.S. 479, 484-5 (1965); and the Ninth Amendment, Id.

                                                          13
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 14 of 18 PageID #:14



executive usurpation and tyranny,’ have in this country ‘become bulwarks also against arbitrary

legislation.” Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833, 847(1992)

57.     In Washington v. Harper, 495 U.S. 210 (1990), the Supreme Court found that the forced

injection of medicine implicated a “significant liberty interest.” Similarly, in Cruzan v. Director,

Missouri Dep’t of Health, 497 U.S. 261, 278 (1990), the Supreme Court found that “a competent

person has a constitutionally protected liberty interest in refusing unwanted medical treatment.”

58.     In this case, the mandate at issue is not narrowly tailored to forward a compelling

government interest.

59.     Vaccinating people is not a compelling government interest in and of itself. Rather, the

government’s interest is in protecting the lives and fundamental rights of the state’s residents.

60.     Presently, COVID-19 cases are on the wane in Illinois, and, as stated above, there were

many periods over the last 18 months when the number of new cases per day was much greater than

at present. Nonetheless, there was no time during that period when weekly COVID-19 tests were

required of employees or contractors. There was also no time, over the last nine months when

vaccines have been available, when a vaccine mandate was put in place in the State of Illinois, or in

Cook County.

61.     It is therefore evident that the weekly testing requirement is not narrowly tailored to forward

the interest of preserving the life and health of Illinois’ citizens; rather, it is a punitive measure taken

against those who assert their fundamental rights.

62.     Given that many paramedics have already caught and recovered from COVID-19, singling

out those who are not vaccinated against COVID-19 is neither narrowly tailored to nor rationall

related to forwarding the interest of preserving the life and health of Illinois’ citizens; those who

have not had COVID-19, and whose immunity comes from vaccination, are at a much greater risk




                                                     14
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 15 of 18 PageID #:15



of catching and transmitting COVID-19 to others than those who remain unvaccinated but who

have natural immunity.

                                             COUNT I
                                          42 U.S.C. § 1983
                           Due Process – As to the Government Defendants

63.     If Defendants are not enjoined from putting the mandate into effect, their fundamental

rights will be violated.

                                           COUNT II
                                         42 U.S.C. § 1983
                       Equal Protection – As to the Government Defendants

64.     As a result of the Executive Order, and the contemplated actions, Plaintiffs are being treated

differently from employees who are willing to disclose their vaccination status arbitrarily, and singled

out for disparate treatment.

                                             COUNT III
                                           42 U.S.C. § 1983
                                          First Amendment

65.     Plaintiffs were denied religious exemptions, or their exemptions remain unapproved, despite

the fact that Cook County gave itself the discretion to grant such exemptions for good cause.



                                          COUNT IV
                    745 ILCS 70 et seq – Health Care Right of Conscience Act
                                      As to All Defendants

66.     Pursuant to the Health Care Right of Conscience Act:

                Discrimination. It shall be unlawful for any person, public or private
                institution, or public official to discriminate against any person in any
                manner, including but not limited to, licensing, hiring, promotion, transfer,
                staff appointment, hospital, managed care entity, or any other privileges,
                because of such person's conscientious refusal to receive, obtain, accept,
                perform, assist, counsel, suggest, recommend, refer or participate in any way

                                                   15
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 16 of 18 PageID #:16



                in any particular form of health care services contrary to his or her
                conscience. 745 ILCS 70/5.

67.     It also states:
                Discrimination by employers or institutions. It shall be unlawful for any
                public or private employer, entity, agency, institution, official or person,
                including but not limited to, a medical, nursing or other medical training
                institution, to deny admission because of, to place any reference in its
                application form concerning, to orally question about, to impose any burdens
                in terms or conditions of employment on, or to otherwise discriminate
                against, any applicant, in terms of employment, admission to or participation
                in any programs for which the applicant is eligible, or to discriminate in
                relation thereto, in any other manner, on account of the applicant's refusal to
                receive, obtain, accept, perform, counsel, suggest, recommend, refer, assist or
                participate in any way in any forms of health care services contrary to his or
                her conscience. 745 ILCS 70/7.
68.     Violation of the Act subjects the violator to threefold the actual damages, including

pain and suffering, costs of bringing suit, and reasonable attorneys’ fees.

                                            COUNT V
                                       Declaratory Judgment
                                 As to the Government Defendants

69.     The Executive Order, and the mandate upon which it is based, far exceeds the power of the

governor granted to him by Illinois statute.

70.     The Illinois Emergency Management Act, which the governor points to as authorizing the

vaccine mandates, does not give the governor the power to require employees to be vaccinated. This

aspect of the Executive Order violates Illinois law and statute.

71.     Similarly, Cook County mandate was undertaken in violation of the law in that it was never

approved by the Cook County Commissioners.

72.     Further, the factual basis underlying the Executive Orders are woefully inadequate to justify

such an imposition on the constitutional and fundamental rights of Illinois and Cook County

residents.

                                                   16
      Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 17 of 18 PageID #:17



73.      Finally, the mandate, and the Executive Orders, violate the constitutional and fundamental

rights of those who either choose not to be vaccinated, or choose not to disclose their vaccination

status to either the state, or their employers.

                                            Prayer for Relief

         WHEREFORE, Plaintiffs request that this Honorable Court enter an order:

      A. Finding that the government Defendants, violated the constitutional rights of Plaintiffs;

      B. Finding that the Executive Order, and therefore the mandate, exceeds the authority granted

         to the governor and to governmental units granted by statute, and is therefore null and void

         as to the vaccine mandates complained of here;

      C. Finding that the Cook County Order, and therefore the mandate, exceeds the authority

         granted to the president of Cook County, and is therefore null and void;

      D. Finding that Plaintiffs have a fundamental right to their bodily autonomy, and to make

         health decisions in accordance with their beliefs and conscience;

      E. Ordering that Defendants be enjoined from putting the vaccine mandates contained in the

         Executive Order and the Cook County mandate into effect;

      F. Ordering that Plaintiffs be compensated, to the extent allowable under the law and the

         Constitution of the United States of America, including treble damages under Illinois Statute,

         for their damages; and

      G. Ordering that Defendants pay Plaintiffs’ for the costs associated with bringing this lawsuit,

         including their reasonable attorneys’ fees.

Respectfully Submitted,

s/Jonathan Lubin
Attorney for Plaintiffs



                                                       17
    Case: 1:21-cv-05407 Document #: 1 Filed: 10/12/21 Page 18 of 18 PageID #:18



Jonathan Lubin
8800 Bronx Ave.
Suite 100H
Skokie, IL 60077
773 954 2608
jonathan@lubinlegal.com




                                        18
